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                         UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION                                            ENTERED
                                                                                             03/13/2020
IN RE:                                          §
SAMMY VELA                                      §      CASE NO: 19-34286
       Debtor(s)                                §
                                                §      CHAPTER 7
                                                §
KAPITUS SERVICING INC.                          §
      Plaintiff(s)                              §
                                                §
VS.                                             §      ADVERSARY NO. 19-3671
                                                §
SAMMY VELA                                      §
     Defendant(s)                               §

                               ORDER SETTING HEARING

       A hearing on Motion for Default Judgment1 shall be held before the United States
Bankruptcy Court, Bob Casey Federal Building, Courtroom #402, 515 Rusk Street, Houston,
Texas, 77002 on March 31, 2020 at 1:30 p.m. (Central Standard Time).

       Within two business days of receipt of this Order, movant must serve a copy of this
Order on all parties entitled to notice of the hearing and file a certificate of service with the
Clerk’s office.




          SIGNED 03/13/2020.


                                                ___________________________________
                                                        Eduardo V. Rodriguez
                                                     United States Bankruptcy Judge




1
    ECF No. 9.
1/1
